                          Case 23-12013-mkn                 Doc 1        Entered 05/19/23 09:18:26                   Page 1 of 8


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                KPG REVENUE CYCLE MANAGEMENT, INC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4262 Blue Diamond Road #102-371                                 2140 Canyonville Dr
                                  Las Vegas, NV 89139                                             Henderson, NV 89044
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  2140 Canyonville Dr Henderson, NV 89044
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.kpgrcm.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    KPG REVENUE CYCLE MANAGEMENT, INC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5416

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    KPG REVENUE CYCLE MANAGEMENT, INC                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      RCM toGo, LLC                                                 Relationship               Affiliated entity

                                                     District    Nevada                       When      5/08/23                Case number, if known      pending


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   KPG REVENUE CYCLE MANAGEMENT, INC                                               Case number (if known)
         Name


16. Estimated liabilities         $0 - $50,000                               $1,000,001 - $10 million                 $500,000,001 - $1 billion
                                  $50,001 - $100,000                         $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                        $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                      $100,000,001 - $500 million              More than $50 billion




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Debtor    KPG REVENUE CYCLE MANAGEMENT, INC                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 19, 2023
                                                  MM / DD / YYYY


                             X   /s/ M. George Puziak                                                     M. George Puziak
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Seth D Ballstaedt, Esq.                                               Date May 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Seth D Ballstaedt, Esq.
                                 Printed name

                                 Fair Fee Legal Services
                                 Firm name

                                 8751 W. Charleston Blvd.
                                 Suite 220
                                 Las Vegas, NV 89117
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (702) 715-0000                Email address      help@bkvegas.com

                                 11516 NV
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name KPG REVENUE CYCLE MANAGEMENT, INC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Capital One Spark                                   Credit Card                                                                                                 $17,629.00
 PO Box 60519
 City of Industry, CA
 91716-0519
 Nevada State Bank                                   Commercial Loan                                                                                             $47,018.00
 Enterprise Load
 Operations
 PO Box 27181
 Salt Lake City, UT
 84127-0181
 US Small Business                                   SBA Disaster                                          $316,900.00                        $0.00            $316,900.00
 Administration                                      Loan - blanket lien
 Office of Disaster
 Assistance
 14925 Kingsport
 Road
 Fort Worth, TX
 76155




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                 KPG REVENUE CYCLE MANAGEMENT, INC
                 2140 Canyonville Dr
                 Henderson, NV 89044

                 Seth D Ballstaedt, Esq.
                 Fair Fee Legal Services
                 8751 W. Charleston Blvd.
                 Suite 220
                 Las Vegas, NV 89117

                 Capital One Spark
                 Acct No 415417918727272
                 PO Box 60519
                 City of Industry, CA 91716-0519

                 Clark County Assessor
                 c/o Bankruptcy Clerk
                 500 S Grand Central Pkwy
                 Box 551401
                 Las Vegas, NV 89155-1401

                 Clark County Treasurer
                 c/o Bankruptcy Clerk
                 500 S Grand Central Pkwy
                 Box 551220
                 Las Vegas, NV 89155-1220

                 Dept. of Employment, Training & Rehab
                 Employment Security Division
                 500 East Third Street
                 Carson City, NV 89713

                 Internal Revenue Service
                 PO Box 7346
                 Philadelphia, PA 19101-7346

                 Nevada Dept. of Taxations, Bankruptcy
                 555 E Washington Ave, #1300
                 Las Vegas, NV 89101

                 Nevada State Bank
                 Acct No 0001180000132513
                 Enterprise Load Operations
                 PO Box 27181
                 Salt Lake City, UT 84127-0181

                 United States Trustee
                 300 Las Vegas Blvd. South #4300
                 Las Vegas, NV 89101

                 US Small Business Administration
                 Acct No 2921648009
                 Office of Disaster Assistance
                 14925 Kingsport Road
                 Fort Worth, TX 76155
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                                          United States Bankruptcy Court
                                                     District of Nevada
 In re   KPG REVENUE CYCLE MANAGEMENT, INC                                             Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for KPG REVENUE CYCLE MANAGEMENT, INC in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




May 19, 2023                                     /s/ Seth D Ballstaedt, Esq.
Date                                             Seth D Ballstaedt, Esq.
                                                 Signature of Attorney or Litigant
                                                 Counsel for KPG REVENUE CYCLE MANAGEMENT, INC
                                                 Fair Fee Legal Services
                                                 8751 W. Charleston Blvd.
                                                 Suite 220
                                                 Las Vegas, NV 89117
                                                 (702) 715-0000 Fax:(702) 666-8215
                                                 help@bkvegas.com
